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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA : CRIMINAL NO. 1:21-cr-38-CRC
v.
RICHARD BARNETT, : VIOLATIONS:
also known as “Bigo Barnett,” : 18 U.S.C. § 231(a)(3)
: (Civil Disorder)
Defendant. > = 18: U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(C)

(Entering and Remaining in Certain
Rooms in the Capitol Building)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

18 U.S.C. § 641

(Theft of Government Property)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, RICHARD
BARNETT, also known as “Bigo Barnett,” committed and attempted to commit an act to obstruct,
impede, and interfere with a law enforcement officer, that is, an officer from the Metropolitan

Police Department, lawfully engaged in the lawful performance of his official duties incident to
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and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3)

COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere, RICHARD
BARNETT, also known as “Bigo Barnett,” attempted to, and did, corruptly obstruct, influence,
and impede an official proceeding, that is, a proceeding before Congress, specifically, Congress’s
certification of the Electoral College vote as set out in the Twelfth Amendment of the Constitution
of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, RICHARD BARNETT,
also known as “Bigo Barnett,” did knowingly enter and remain in a restricted building and grounds,
that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol
and its grounds, where the Vice President was and would be temporarily visiting, without lawful
authority to do so, and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a ZAP Hike ‘n Strike Hiking Staff.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and
(b)(1)(A))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, RICHARD BARNETT,
also known as “Bigo Barnett,” did knowingly, and with intent to impede and disrupt the orderly

conduct of Government business and official functions, engage in disorderly and disruptive

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conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was and would be temporarily visiting, when and so that such conduct did in
fact impede and disrupt the orderly conduct of Government business and official functions, and,’
during and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a
ZAP Hike ‘n Strike Hiking Staff.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, RICHARD BARNETT,
also known as “Bigo Barnett,” willfully and knowingly, and with the intent to disrupt the orderly
conduct of official business, entered and remained in a room in any of the Capitol Buildings set
aside and designated for the use of either House of Congress and a Member, committee, officer,
and employee of Congress, and either House of Congress, and the Library of Congress, without

authorization to do so.

(Entering and Remaining in Certain Rooms in the Capitol Building, in violation of
Title 40, United States Code, Section 5104(e)(2)(C))

COUNT SIX

On or about January 6, 2021, within the District of Columbia, RICHARD BARNETT,
also known as “Bigo Barnett,” willfully and knowingly engaged in disorderly and disruptive
conduct within the United States Capitol Grounds and in any of the Capitol Buildings with the
‘intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House
of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a
committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,

Section 5104(e)(2)(D))
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COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, RICHARD BARNETT,
also known as “Bigo Barnett,” willfully and knowingly paraded, demonstrated, and picketed in
any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, RICHARD BARNETT,
also known as “Bigo Barnett,” did embezzle, steal, purloin, knowingly convert to his use and the
use of another, and without authority, sold, conveyed and disposed of any record, voucher, money
and thing of value of the United States and any department and agency thereof, that is, an envelope,
which has a value of less than $1,000.

(Theft of Government Property, in violation of Title 18, United States Code, Section
641)

A TRUE BILL:

FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
